Case 13-28454-RG                Doc 21        Filed 05/13/19 Entered 05/13/19 18:29:09     Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Rachael E. Banks
 KOLB CLARE & ARNOLD
 Appearing Specially
 35 Journal Square, Ste. 419
 Jersey City, NJ 07306
 Phone: (201) 253-1968
 e-mail: rbanks@kcalegal.com
 Attorneys for Hackensack University Medical
 Center, as plan administrator and sponsor of the
 Hackensack University Medical Center Advantage
 Health Plan, Improperly named as “Equian, LLC”

                                                               Case No.: 13-28454 RG
 In Re:
                                                               Hon. Rosemary Gambardella
 FLOYD T. BELL, JR.,
                                                               Chapter: 7
                                             Debtor.
                                                               Hearing Date: May 20, 2019 at 10:00 a.m.



    SPECIAL APPEARANCE AND RESPONSE IN OPPOSITION TO TRUSTEE’S
         MOTION FOR AN ORDER COMPELING DISGORGEMENT OR
   TURNOVER OF PAYMENTS MADE FROM PERSONAL INJURY SETTLEMENT

    Now Comes Hackensack University Medical Center, as plan administrator and sponsor of the

Hackensack University Medical Center Advantage Health Plan (the “Plan”), appearing specially

by Counsel Kolb Clare & Arnold, PSC, Rachael Banks, and for its Response in Opposition to the

Trustee’s improper Motion, above, states as follows:

    1. The Plan sponsor and administrator is the fiduciary of a self-funded employee benefit plan

          which provides health benefits to eligible participants and dependents of employees of

          Hackensack University Medical Center. See 2011 SPD, attached hereto.
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  2. The Plan is a self-funded employee benefit Plan, subject to ERISA. See page 9 of the

     Summary Plan Description, attached hereto.

  3. On or about October 10, 2012, while a participant in the Plan, debtor Floyd Bell, Junior

     was injured in a fall on property maintained or repaired by English Paving Company

     (Defendant).

  4. On information and belief, Plan participant Floyd Bell filed a Chapter 7 Bankruptcy on

     August, 22, 2013.

  5. Neither Equian, LLC, QualCare, nor the Hackensack University Medical Center

     Advantage Health Plan are listed as Creditors in the Bankruptcy.

  6. On information and belief, Plan participant Floyd Bell filed suit against Defendant in New

     Jersey State court in 2013, and settled the case in June, 2017.

  7. At the time of the settlement, the Plan had extended benefits to Floyd Bell totaling

     $34,315.18.

  8. The Plan used a Claims Administrator, QualCare, to administer claims submitted to the

     Plan.

  9. The Claims Administrator retained Equian, LLC as the subrogation and reimbursement

     agent for the Plan for the purpose of recovering said benefits pursuant to the terms of the

     Plan.

  10. With authority, Equian, LLC agreed to accept $25,000.00 in settlement of the Plan’s

     equitable lien of $34,315.18 for benefits paid on behalf of Floyd Bell for medical benefits

     related to the 2012 accident.

  11. The party with the right to the funds, and the real interest at issue is the Hackensack

     University Medical Center Advantage Health Plan, and is not Equian, LLC.
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  12. The applicable plan language, governing recovery of said benefit is listed on page 79 of

     the attached Summary Plan Description.

  13. Pursuant to said language, the participant assigns all rights to recovery to the Plan, and

     provides the Plan with first priority to any recovery from a third party.

  14. While it does not appear that this Court has dealt with the issue of the nature of an employee

     benefit plan’s claim to proceeds of a pre-petition bodily injury claim, Bankruptcy courts

     which have encountered the claims have found that the liened proceeds are not a part of

     the Bankruptcy Estate.

  15. Pursuant to In re Bergman, 467 F.3d 536 (W.D. OK 2006) (attached), and In Re McGreevy,

     388 B.R. 917 (2008) (attached), the Bankruptcy Courts in Oklahoma found that amounts

     paid by insurance companies for benefits due to pre-petition accidents were not part of the

     estate. Of course, those insured plans were subject to state laws regarding subrogation and

     reimbursement rights.

  16. It appears that the issue of a self-funded employee benefit plan came before the United

     States District Court of Appeals for the 4th Circuit, which found in an unpublished opinion,

     that a plan subject to Federal Law acquired the same interest, and found that the proceeds

     subject to the Plan’s interest were not property of the Estate. In Re Carpenter, 36 Fed.

     Appx 80 (2002), attached.

  17. The cases cited by the Trustee are inapplicable. In Re Fontaine and In Re Colombraro

     involve provider liens. The claim by the Plan is for an equitable lien, which attached to

     any recovery by the employee as soon as benefits were extended.
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   18. The Plan has not been served and is not otherwise a party in any way to the Bankruptcy,

       having received no notice of same, claiming no interest in assets of the Estate, and having

       not been served with process.

   Wherefore, Hackensack University Medical Center, as sponsor of the Hackensack University

Medical Center Advantage Health Plan requests that the Trustee’s motion as to the Plan’s interest

be denied.

                                       /s/ Rachael E. Banks
                                       RACHAEL E. BANKS
                                       KOLB CLARE & ARNOLD, PSC
                                       35 Journal Square, Suite 419
                                       Jersey City, NJ 07306
                                       Telephone: 201-253-1968
                                       Facsimile:     844-557-4329
                                       E-mail: rbanks@kcalegal.com
                                       ATTORNEYS FOR PLAINTIFF
                                       Hackensack University Medical Center, as plan
                                       administrator and sponsor of the Hackensack University
                                       Medical Center Advantage Health Plan, Improperly named
                                       as “Equian, LLC”
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                                        Floyd T. Bell, Jr.
                                     Case No.: 13-28454 RG
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Debtor
In reCase  13-28454-RG
      Bergman,                 Doc
               467 F.3d 536 (2006)          21
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                                                                           Unless a federal interest is at issue, property
                                                                           rights are defined by state law.
     KeyCite Yellow Flag - Negative Treatment
Distinguished by In re Burnett, Bankr.W.D.Okla., January 31, 2011          5 Cases that cite this headnote
                       467 F.3d 536
              United States Court of Appeals,
                                                                    [2]    Bankruptcy
                       Sixth Circuit.
                                                                               Co-debtors; subrogation
                In re: Ernest R. BERGMAN;                                  The subrogation rights conferred by an
                Shirley E. Bergman, Debtors.                               insurance contract are not affected by
          Bruce Comly French, Trustee for the                              the Bankruptcy Code or the bankruptcy
          Debtor Estate of Ernest Bergman and                              proceedings of the insured.
         Shirley E. Bergman, Plaintif–Appellant,
                                                                           2 Cases that cite this headnote
                            v.
           Steve Frey; Anthem Blue Cross and
                                                                    [3]    Bankruptcy
         Blue Shield; German Mutual Insurance
                                                                               Tort claims
           Company, Defendants–Appellees.
                                                                           Bankruptcy
                       No. 05–4312.                                            Co-debtors; subrogation
                              |                                            Under Ohio law, health insurer that paid
                 Submitted: Sept. 12, 2006.                                approximately $3,000 in medical expenses for
                              |                                            its insureds, before they filed their Chapter 7
              Decided and Filed: Oct. 27, 2006.                            bankruptcy petition, had subrogation interest,
                                                                           pursuant to insurance policy language, in
Synopsis
                                                                           any proceeds that insureds received by virtue
Background: Chapter 7 trustee sued for declaration that
                                                                           of personal injury claims against alleged
insurer that had paid approximately $3,000 in medical
                                                                           tortfeasor, for its prepetition expenditures
expenses for debtor-insureds, before they filed their
                                                                           on insureds' behalf; thus, any money that
Chapter 7 petition, was merely a general unsecured
                                                                           insureds recovered in their civil suit against
creditor. The United States District Court for the
                                                                           alleged tortfeasor, up to the amount paid by
Northern District of Ohio, James G. Carr, J., 337 B.R.
                                                                           insurer, was not “property of the estate,” for
616, granted summary judgment in favor of insurer.
                                                                           purpose of insureds' bankruptcy proceeding.
Trustee appealed.
                                                                           11 U.S.C.A. § 541.

                                                                           3 Cases that cite this headnote
[Holding:] The Court of Appeals, Merritt, Circuit Judge,
held that any money that debtors recovered in their civil
suit against alleged tortfeasor, up to the amount paid by
insurer, was not property of the estate.                            Attorneys and Law Firms

                                                                     *537 ON BRIEF: Bruce Comly French, Lima, Ohio,
Affirmed.                                                           Ryan Q. Ashworth, Ada, Ohio, for Appellant. Louis F.
                                                                    Solimine, Thompson Hine, Cincinnati, Ohio, Curtis L.
                                                                    Tuggle, Thomson Hine, Cleveland, Ohio, for Appellees.

 West Headnotes (3)                                                 Before: MERRITT and MOORE, Circuit Judges;
                                                                    COLLIER, Chief District Judge. *
 [1]     Federal Courts
             Property



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In reCase  13-28454-RG
      Bergman,                 Doc
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                                                               District Court, the Trustee moved for a judgment on the
                                                               pleadings and Anthem cross-moved for summary *538
                        OPINION                                judgment. The District Court granted Anthem's motion,
                                                               holding that under Ohio law the insurer had a pre-petition
MERRITT, Circuit Judge.                                        property interest in any recovery that the Bergmans may
                                                               receive arising out their accident with Frey.
On March 23, 2003, prior to filing bankruptcy, Ernest and
Shirley Bergman were involved in an automobile accident.        [1] We review the District Court's grant of summary
The Bergmans' medical insurer, Anthem Blue Cross and           judgment de novo. The issue presented is whether an
Blue Shield provided coverage for approximately $3,000         insurer's contractual subrogation rights create a property
in medical expenses incurred by the couple arising from        right in the insurer, so that this contractual right is
the accident. After the Bergmans filed a Chapter 7             not properly included in the bankruptcy estate. The
bankruptcy petition, the trustee initiated a personal injury   Bankruptcy Code defines the property of a debtor's estate
lawsuit on behalf of the debtor estate against Steve Frey,     as “all legal or equitable interests of the debtor in property
the other party to the automobile accident, seeking in         at the outset of the case.” 11 U.S.C. § 541(a)(1). Unless
excess of $100,000 in damages. The issue in the present        a federal interest is at issue, property rights are defined
action is whether Anthem, via a subrogation clause in          by state law. Butner v. United States, 440 U.S. 48, 55, 99
the Bergmans' insurance policy, acquired a pre-petition        S.Ct. 914, 59 L.Ed.2d 136 (1979). Here, the court must
interest in the first $3,000 the Bergmans may obtain from
                                                               look to state law to determine whether, at the outset of the
Frey. The District Court held that it did. The Trustee         Bergmans' bankruptcy case, the debtors possessed a legal
argues that Anthem did not acquire a pre-petition interest     or equitable interest in any potential recovery from Steve
and that the insurer should properly be classified as a        Frey.
general unsecured creditor. For the reasons explained
below, the decision of the District Court is affirmed.         The Ohio Supreme Court confronted this issue outside of
                                                               the bankruptcy context in a dispute between a medical
The Bergmans' insurance policy includes a subrogation          insurer and its insured in Blue Cross and Blue Shield v.
clause, which provides:                                        Hrenko, 72 Ohio St.3d 120, 647 N.E.2d 1358 (1995). In
                                                               Hrenko, the insurer paid for medical expenses incurred
            We [Anthem] have the right to
                                                               by its insured as a result of an automobile accident. The
            recover payments we make on your
                                                               other party to the accident was not insured, so Hrenko
            behalf from any party responsible
                                                               pursued a claim under the uninsured motorist provision
            for compensating you for your
                                                               in his automotive insurance policy. The medical insurance
            injuries. The following apply: We
                                                               company sued, arguing that the policy's subrogation
            have first priority for the full amount
                                                               clause entitled it to reimbursement for the money it had
            of benefits we have paid from
            any recovery regardless of whether                 expended on behalf of its insured. 1 The Supreme Court
            you are fully compensated, and                     agreed, rejecting Hrenko's arguments that his medical
            regardless of whether the payments                 insurer's subrogation rights existed exclusively against the
            you receive make you whole for your                tortfeasor or tortfeasor's insurer and that the insurer's
            losses and injuries.                               subrogation rights were contrary to public policy. Id.
                                                               at 1360. The Court held that the plain meaning of the
After the bankruptcy commenced, the Trustee filed a            contract language allowed the insurer to recover directly
personal injury suit on behalf of the debtor estate against    from compensation the insured received from any third
Frey, seeking more than $100,000 in damages. The Trustee       party. Id. at 1359.
also initiated an adversary complaint against Anthem,
asking the bankruptcy court to declare the Bergmans'            [2] The subrogation rights conferred by contract are
insurer a general unsecured creditor. The Bankruptcy           not affected by the Bankruptcy Code or the bankruptcy
Court consolidated both actions into a single proceeding       proceedings of the insured. In Pearlman v. Reliance
and the District Court withdrew the case from the              Insurance Co., 371 U.S. 132, 83 S.Ct. 232, 9 L.Ed.2d 190
Bankruptcy when Frey demanded a jury trial. In the             (1962), an insurance company provided surety bonds for



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In reCase  13-28454-RG
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a construction company that undertook a government               company under a subrogation clause were never part
project. Id. at 133, 83 S.Ct. 232. The bonds were to             of the bankruptcy estate. The court reasoned that the
be used to compensate laborers and material suppliers            subrogation clause rendered the payment to the medical
at the project's conclusion if the company failed to             insurer compensation for a “separate and independent
meet its obligations. Id. As the project progressed, the         cause of action between [the debtors' insurer] and the
government also retained a portion of the payments due           tortfeasor.” Id. at 262. The court bluntly observed that
to the construction company under the contract. Id at            “the Debtors did not have an interest in the transaction”
134, 83 S.Ct. 232. Before the project was completed,             between the tortfeasor and their insurer. Id.
the construction company terminated the contract and
filed bankruptcy, leaving a second company to finish              [3] Under Ohio law, Anthem acquired a pre-petition
the work. Id. At the project's conclusion, the insurance         property right in any future recovery by the Bergmans
company fulfilled its obligations by paying the full value       arising from the March 2003 accident as soon as it
of the surety bonds to creditors of the first construction       expended money for their medical care. Hrenko makes
company. Id. At this point the government turned over the        clear that the property rights of an insurer are governed
money it had withheld under the contract to the Trustee          by the policy language. The subrogation clause in the
for the bankrupt construction firm. Id.                          Bergman's policy stated, “We [Anthem] have the right
                                                                 to recover payments we make on your behalf from any
 *539 The insurance company intervened in the                    party responsible for compensating you for your injuries.”
bankruptcy claiming that the money belonged to it and            This language is the functional equivalent of the clause
not the bankruptcy estate under the subrogation clause in        the Ohio Supreme Court found to create an enforceable
the surety bonds. Id. at 136, 83 S.Ct. 232. The Supreme          property right in the Hrenko's medical insurer. Since the
Court enforced the subrogation clause, holding that              property right immediately vested in Anthem, it was not
“Property interests in a fund not owned by a bankrupt            included in the Bergmans' bankruptcy estate under § 541
at the time of adjudication, whether complete or partial,        of the Bankruptcy Code.
legal or equitable, mortgages, liens, or simple priority of
rights, are of course not part of the bankrupt's property        This result comports with the Supreme Court's reasoning
and do not vest in the trustee.” Id. at 135–36, 83 S.Ct.         and result in Pearlman where the language of the surety
232. Since the insurance company had a contractual right         bond vested a property right in the bond's issuer outside of
to subrogation before its insured filed bankruptcy, the          bankruptcy that put the money facially owed to the debtor
Trustee could not properly acquire it for the benefit of the     beyond the reach of the Trustee. DuBose likewise supports
general creditors.                                               the finding that the insurer owns an interest in the money
                                                                 recovered by the insured up to the amount of the insurer's
A more recent case, adjudicated under the Bankruptcy             expenses. Since this interest accrues to the insurer alone, it
Code and Ohio law, reached the same result. In re DuBose,        can never become part of the bankruptcy estate.
174 B.R. 260 (Bankr.N.D.Ohio 1994). In DuBose, the
husband debtor was involved in an automobile accident            The Trustee argues that the policy language gives Anthem
prior to the couple's bankruptcy filing. Like Anthem in          a right of reimbursement but not subrogation. This
the present case, Mr. Dubose's medical insurer covered           interpretation is not compatible with the plain meaning
medical expenses he incurred as a result of the accident.        of the clause. The statement that Anthem “may recover
While their bankruptcy was pending, the debtors received         payments,” clearly indicates that it has the contractual
a personal injury settlement from the other party to the         right to seek payments directly. There is nothing in the
accident and reimbursed their medical insurer pursuant to        clause that suggests that *540 Anthem must wait until the
the subrogation clause in their policy. When the Trustee         Bergmans are compensated in order to enforce its rights
learned of the payment to the medical insurer, he moved          under the policy. The Trustee is correct that the presence
to set aside the post-petition transfer for the benefit of the   of a reimbursement clause, instead of the subrogation
couple's unsecured creditors.                                    language, may alter this analysis. Such a reading of this
                                                                 clause, however, is not plausible.
The Bankruptcy Court denied the Trustee's motion,
finding that the monies owed to the insurance



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For the foregoing reasons, we affirm the judgment of the         All Citations
district court.
                                                                 467 F.3d 536, Bankr. L. Rep. P 80,756, 2006 Fed.App.
                                                                 0397P


Footnotes
*     The Honorable Curtis Lynn Collier, Chief United States District Judge for the Eastern District of Tennessee, sitting by
      designation.
1     The subrogation clause in Hrenko's policy stated, “To the extent we provide or pay for Covered Services, we assume
      your legal rights to any recovery of expenses incurred. To the extent we provide or pay benefits for Covered Services, you
      must repay us amounts recovered by suit, settlement or otherwise from any third party or his insurer.” 647 N.E.2d at 1359.


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      Carpenter, 36 Fed.Appx. 80Doc  21
                                 (2002)               Filed 05/13/19 Entered 05/13/19 18:29:09                       Desc Main
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                                                                                       Subrogation to or Reimbursement of
                                                                                   Plan or Insurer
     KeyCite Yellow Flag - Negative Treatment
                                                                                   Employer, which was the sponsor and
Distinguished by Callery v. U.S. Life Ins. Co. in City of New York, 10th
Cir.(Utah), December 10, 2004                                                      administrator of a health benefits plan
                        36 Fed.Appx. 80                                            that was governed by Employee Retirement
                 This case was not selected for                                    Income Security Act (ERISA) and that had a
              publication in the Federal Reporter.                                 reimbursement provision, had an enforceable
        Not for Publication in West's Federal Reporter                             equitable lien on personal injury settlement
           See Fed. Rule of Appellate Procedure 32.1                               proceeds received post-petition by Chapter 7
       generally governing citation of judicial decisions                          debtor-employee, who had received medical
        issued on or after Jan. 1, 2007. See also Fourth                           benefits pursuant to the plan after she was
            Circuit Rule 32.1 (Find CTA4 Rule 32.1)                                involved in automobile accident. Employee
                United States Court of Appeals,                                    Retirement Income Security Act of 1974, § 2
                         Fourth Circuit.                                           et seq., 29 U.S.C.A. § 1001 et seq.

         In re Tina L. CARPENTER, Debtor.                                          6 Cases that cite this headnote
   Wal-Mart Stores, Incorporated, Plaintiff-Appellee,
                          v.
       Tina L. Carpenter, Defendant-Appellant.
                                                                            *81 Appeal from the United States District Court for
                          No. 00-2348.                                     the Eastern District of Virginia, at Norfolk. Rebecca
                                |                                          B. Smith, District Judge. (CA-00-143, BK-98-26470-SCS,
                      Argued May 8, 2001.                                  AP-98-01290).
                                |
                                                                           Attorneys and Law Firms
                      Decided June 3, 2002.
                                                                           ARGUED: Carolyn Louise Camardo, Marcus, Santoro,
Synopsis
                                                                           Kozak & Melvin, P.C., Portsmouth, Virginia, for
Chapter 7 debtor's employer, in its capacity as sponsor
                                                                           Appellant. Michael Stephen Cessna, Corporate Appellate,
and administrator of employee benefit plan, sought
                                                                           Wal-Mart In-House Litigation Team, Bentonville,
determination as to its lien rights in proceeds from
                                                                           Arkansas, for Appellee. ON BRIEF: Kyle L. Holifield,
settlement of debtor's third-party tort claims. The
                                                                           Corporate Appellate, Wal-Mart In-House Litigation
Bankruptcy Court, Stephen C. St. John, J., 245 B.R.
                                                                           Team, Bentonville, Arkansas, for Appellee.
39, found that it was appropriate, as matter of federal
common law, to impose equitable lien on proceeds of                        Before MICHAEL and GREGORY, Circuit Judges,
debtor's recovery, and entered judgment in favor of                        and ALARCON, Senior Circuit Judge of the United
employer. Debtor appealed. The District Court, Smith, J.,                  States Court of Appeals for the Ninth Circuit, sitting by
252 B.R. 905, affirmed. Debtor appealed. The Court of                      designation.
Appeals held that employer had an enforceable equitable
lien on personal injury settlements proceeds that debtor
received post-petition.
                                                                           Affirmed by unpublished PER CURIAM opinion. Judge
                                                                           MICHAEL wrote a dissenting opinion.
Affirmed.

                                                                                                  OPINION

 West Headnotes (1)                                                        PER CURIAM.

                                                                            **1 The bankruptcy and district courts held that Wal-
 [1]       Labor and Employment                                            Mart Stores, Inc., the sponsor and administrator of a
                                                                           health benefits plan with a reimbursement provision, had


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In reCase  13-28454-RG
      Carpenter, 36 Fed.Appx. 80Doc  21
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an equitable lien on personal injury settlement proceeds     the proceeds of any subsequent recovery she would
received by a Wal-Mart employee, Tina L. Carpenter,          receive, with a particular obligation, namely the obligation
after she filed for bankruptcy. We affirm.                   to repay amounts paid out by Wal-Mart under the Plan.
                                                             Carpenter further evidenced her assent to that provision
The facts are not in dispute. On November 13, 1994,          by subsequently signing the Acknowledgment.” In re
Carpenter was seriously injured in an automobile wreck       Carpenter, 245 B.R. 39, 47 (Bankr.E.D.Va.2000). Based
caused by a third party. At the time of the accident,        on this, the bankruptcy court found that Wal-Mart has
Carpenter worked for Wal-Mart and participated in            an equitable lien on the proceeds of Carpenter's recovery.
the Wal-Mart Group Health Plan (the Plan). Wal-Mart          The court, in other words, “recognized Wal-Mart's
sponsors and administers the Plan, which is a self-funded,   security interest in [Carpenter's] settlement proceeds
self-insured health benefits plan. The Plan is governed by   and ... determined that nothing prevents Wal-Mart from
the Employee Retirement Income Security Act of 1974,         foreclosing on that interest.” Id. at 53. Finally, the
29 U.S.C. § 1001, et seq. (ERISA). Although a copy of        bankruptcy court ordered Carpenter to pay over the
the Plan was not introduced into evidence, the parties       settlement proceeds (less attorneys fees and costs) to Wal-
stipulated as follows: “Pursuant to the terms of the plan,   Mart. Id. The district court affirmed, see In re Carpenter,
in the event of the payment of benefits to a participant     252 B.R. 905 (E.D.Va.2000), and Carpenter appeals to us.
due to an injury to such participant caused by acts of
a third-party, the plan retains the right of subrogation      **2 After oral argument we placed this appeal in
to claims of the participant against such third-party,       abeyance pending the Supreme Court's decision in Great-
and the right to reimbursements for recoveries of the        West Life & Annuity Ins. Co. v. Knudson, 534 U.S.
participant from such third-party.” On July 6, 1995, after   204, 122 S.Ct. 708, 151 L.Ed.2d 635 (2002), a case
the accident, Carpenter signed a “Subrogation Rights         that deals with the extent to which ERISA authorizes
Notification Acknowledgment,” acknowledging that she         a plan administrator to enforce a plan's reimbursement
was aware of the Plan's subrogation and reimbursement        provision. In Knudson the personal injury proceeds had
provision.                                                   been paid directly into a trust, and the money therefore
                                                             was not in the hands of the ERISA plan beneficiaries.
Carpenter's medical expenses stemming from the accident      Id. at 715. The plan brought a contract action against
totaled nearly $300,000, and the Plan paid her $106,935.11   the beneficiaries, seeking legal relief under the plan's
in benefits. Carpenter was overwhelmed by her medical        reimbursement provision. The Supreme Court held that
bills, and she filed an involuntary Chapter 7 bankruptcy     ERISA § 502(a)(3) did not authorize the action because
petition on September 1, 1998. On October 13, 1998,          the plan was seeking legal relief. Id. at 719. The Court
within a few weeks of her bankruptcy filing, Carpenter       indicated that if the plan administrator had been seeking
 *82 received $125,000 in settlement from the third          an equitable lien on particular property in the hands
party who had caused her injuries. Shortly thereafter,       of the plan beneficiaries, such a suit would sound in
Carpenter amended her bankruptcy schedules to reflect        equity and would be authorized by § 502(a)(3). Id. at
the settlement and to claim the proceeds as exempt           714-15. Knudson therefore does not affect the conclusion
under 11 U.S.C. § 522(b)(2) and Va.Code Ann. § 34-28.1.      of the bankruptcy and district courts that Wal-Mart has
(Va.Code Ann. § 34-28.1 exempts the proceeds of personal     an enforceable equitable lien on Carpenter's settlement
injury settlements.) On November 25, 1998, Wal-Mart          proceeds. We agree with the conclusion of the bankruptcy
filed an adversary proceeding against Carpenter, seeking     and district courts, and we affirm on their reasoning. See
(1) a declaratory judgment that it has an equitable lien     In re Carpenter, 245 B.R. 39 (Bankr.E.D.Va.2000); In re
on the settlement proceeds under the terms of the Plan       Carpenter, 252 B.R. 905 (E.D.Va.2000).
and (2) an order requiring Carpenter to pay the settlement
proceeds to Wal-Mart.                                        AFFIRMED.

The bankruptcy court held a short bench trial on Wal-
Mart's complaint. The court found as follows: “In
                                                             MICHAEL, Circuit Judge, dissenting:
contracting for the right to reimbursement, Carpenter
                                                              **2 I respectfully dissent because I do not believe
evidenced an intent to charge particular property, namely
                                                             that Wal-Mart presented sufficient evidence to allow an


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      Carpenter, 36 Fed.Appx. 80Doc  21
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equitable lien to be imposed on Carpenter's personal            subject the settlement proceeds to a lien. This evidence
                                                                falls short of the strict proof of intent necessary to create
injury settlement proceeds. The Plan was not placed in
                                                                a security interest giving rise to an equitable lien. See,
evidence, and the bankruptcy court acknowledged that
                                                                e.g., In re O.P.M. Leasing Services, Inc., 23 B.R. 104, 119
“it cannot be ascertained from the record whether the
                                                                (Bankr.S.D.N.Y.1982).
terms of the Plan specifically call for the imposition of
an equitable lien.” *83 In re Carpenter, 245 B.R. 39, 47
(Bankr.E.D.Va.2000). Nevertheless, the bankruptcy court         All Citations
found (and the district court agreed) that the existence
of the reimbursement provision, and Carpenter's signed          36 Fed.Appx. 80, 2002 WL 1162277, 28 Employee Benefits
acknowledgment of that provision, evidence her intent to        Cas. 2043

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                                                                          in property becomes property of the estate. 11
                                                                          U.S.C.A. § 541.
     KeyCite Yellow Flag - Negative Treatment
Distinguished by In re Burnett, Bankr.W.D.Okla., January 31, 2011         1 Cases that cite this headnote
                     388 B.R. 917
   United States Bankruptcy Court, D. South Dakota.
                                                                    [2]   Bankruptcy
             In re Stephen J. McGREEVY and                                    Legal or equitable interests in general
               Susan S. McGreevy, Debtors.                                Bankruptcy
             John S. Lovald, Trustee, Plaintiff,                              Future interests
                           v.                                             “Property of the estate” is broadly defined
        Stephen J. McGreevy, Susan S. McGreevy,                           to encompass conditional, future, speculative
          Avera McKennan Hospital, Wellmark                               and equitable interests of debtor. 11 U.S.C.A.
         Blue Cross Blue Shield of South Dakota,                          § 541(a).
           and United Fire Group, Defendants.                             Cases that cite this headnote

                   Bankruptcy No. 04–41113.
                               |                                    [3]   Bankruptcy
                    Adversary No. 07–4050.                                    In general; standing
                               |                                          Bankruptcy
                        May 16, 2008.                                         Rights of Action; Contract Rights
                                                                          Generally
Synopsis
Background: Chapter 7 trustee filed complaint for                         Property of the estate includes all causes of
determination of competing interests in proceeds from                     action that debtor could have brought at time
settlement of debtor's prepetition personal injury cause of               petition was filed, which prepetition causes of
action.                                                                   action the case trustee has standing to assert.
                                                                          11 U.S.C.A. §§ 541(a)(1), 704.

                                                                          Cases that cite this headnote
[Holding:] The Bankruptcy Court, Charles L. Nail, Jr.,
J., held that bankruptcy estate's interest in proceeds from
                                                                    [4]   Bankruptcy
settlement of Chapter 7 debtor's prepetition personal
                                                                              Title and Rights of Trustee or Debtor in
injury cause of action was limited by insurer's subrogation
                                                                          Possession, in General
interest for any medical benefits it paid on debtor's behalf
either pre- or postpetition.                                              Trustee stands in debtor's shoes and may not
                                                                          assert interests or rights greater than what the
                                                                          debtor himself possessed on petition date.
So ordered.
                                                                          1 Cases that cite this headnote


                                                                    [5]   Bankruptcy
 West Headnotes (8)
                                                                              Title and Rights of Trustee or Debtor in
                                                                          Possession, in General
 [1]     Bankruptcy                                                       Whenever an interest in property is limited in
             Effect of state law in general                               debtor's hands, it is equally limited in hands of
         While state law determines nature and extent                     trustee or estate representative.
         of debtor's interest in property, bankruptcy
         statute dictates to what extent debtor's interest                Cases that cite this headnote




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 [6]   Insurance                                          Attorneys and Law Firms
            Subrogation Against Third Parties;
       Right to Proceeds of Action or Settlement           *918 James A. Craig, Craig Law Office, Sioux Falls, SD,
                                                          for Debtors.
       Under South Dakota law, insurer may be
       entitled to subrogation, either by contract or     John S. Lovald, Pierre, SD, for trustee.
       in equity, for amount of indemnity paid.

       Cases that cite this headnote
                                                              DECISION RE: SUBROGATION RIGHTS
                                                             HELD BY DEFENDANT WELLMARK BLUE
 [7]   Bankruptcy                                            CROSS BLUE SHIELD OF SOUTH DAKOTA
           After-acquired property; proceeds;
       wages and earnings                                 CHARLES L. NAIL, JR., Bankruptcy Judge.
       Bankruptcy
                                                          The matter before the Court is Trustee–Plaintiff John
           Presumptions and burden of proof
                                                          S. Lovald's Complaint to Determine Extent and Priority
       Burden of establishing that particular asset       of Liens. This decision deals with his complaint only
       was included in “property of the estate”           as it relates to Defendant Wellmark Blue Cross Blue
       rested with Chapter 7 trustee; however, upon       Shield of South Dakota's subrogation claim. This is a
       showing that asset in question was estate          core proceeding under 28 U.S.C. § 157(b)(2). This decision
       asset, as proceeds of prepetition personal         and subsequent order shall constitute the Court's findings
       injury claim that debtor possessed on date         and conclusions under Fed.R.Bankr.P. 7052. As set forth
       his petition was filed, burden shifted to          below, the settlement funds received by Trustee–Plaintiff
       debtor's insurer to show that estate's interest    Lovald arising from the subject July 26, 2004 accident are
       in settlement funds was limited by its             not estate property to the extent of Defendant Wellmark
       subrogation interest. 11 U.S.C.A. § 541(a)(1),     Blue Cross Blue Shield of South Dakota's subrogation
       (d).                                               claim arising from medical debts it paid or is obligated to
                                                          pay on Debtor Stephen McGreevy's behalf.
       1 Cases that cite this headnote


 [8]   Bankruptcy
                                                                                      I.
           Co-debtors; subrogation
       Bankruptcy estate's interest in proceeds from      Trustee–Plaintiff John S. Lovald (“Trustee Lovald”) and
       settlement of Chapter 7 debtor's prepetition       Defendant Wellmark *919 Blue Cross Blue Shield of
       personal injury cause of action was limited by     South Dakota (“Wellmark”) have stipulated Stephen J.
       insurer's subrogation interest for any medical     McGreevy (“McGreevy”) was involved in a car accident
       benefits it paid on debtor's behalf either pre-    on July 26, 2004. As a result of the accident, McGreevy
       or postpetition; debtor's interest in settlement   sustained certain personal injuries requiring medical care
       proceeds would have been limited by insurer's      and prescription drugs. At the time of the accident,
       subrogation interest if debtor had not filed for   McGreevy had health care coverage through Wellmark
       bankruptcy relief, and debtor's interest came      pursuant to a “Blue Select” Benefits Certificate and drug
       into bankruptcy estate subject to these same       benefit coverage through Wellmark pursuant to a “Blue
       limitations. 11 U.S.C.A. § 541.                    Rx” Benefits Certificate. On behalf of McGreevy and
                                                          pursuant to the health insurance policy, Wellmark paid
       1 Cases that cite this headnote                    $2,682.46 to medical care providers and for prescription
                                                          drugs for the treatment of McGreevy's personal injuries
                                                          proximately caused by the accident. 1 All payments but
                                                          one were made by Wellmark after August 27, 2004, the
                                                          date McGreevy and his wife Susan S. McGreevy filed



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a joint chapter 7 petition in bankruptcy. The one pre-           On August 10, 2007, Trustee Lovald commenced
petition payment made by Wellmark was $14.46 for a               an adversary proceeding against several defendants,
prescription. The post-petition payments by Wellmark on          including Wellmark, and asked the Court to sort out the
McGreevy's behalf for post-petition medical services or          various interests in the settlement funds. As to Wellmark,
prescriptions totaled $2,668.00.                                 Trustee Lovald said:

This Court approved, on July 31, 2007, a settlement of             Defendant Wellmark Blue Cross Blue Shield is
$38,534.95 for McGreevy's personal injury claim from the           asserting a subrogation interest in the settlement
                                                                   proceeds, superior to the bankruptcy estate's interest,
accident. 2 After the fees for the attorney employed by
                                                                   in the amount of $2,662.46, for post petition medical
the estate to handle the personal injury claim ($13,959.12)
                                                                   payments it made on behalf of Stephen McGreevy,
and the amount Debtors have claimed exempt ($3,596.00)
                                                                   pursuant to its insurance contract with Stephen
are deducted, the remaining balance of the settlement
                                                                   McGreevy.
proceeds is $20,979.83.

Trustee Lovald and Wellmark presented three documents
by stipulation: the two insurance policies and a statement                                  ....
of the medical claims Wellmark paid on McGreevy's
behalf. McGreevy's “Blue Select” policy with Wellmark              That none of the claims referenced in paragraphs X
provided, inter alia, once McGreevy “receive[d] benefits           through XIII were of record when the bankruptcy was
under this certificate arising from an illness or injury,          filed, and Trustee's interest in the proceeds is superior
[Wellmark assumed] any legal right [McGreevy had] to               to those claims pursuant to 11 USC 544(a)(2).
collect compensation, damages, or any other payment                In its answer, Wellmark admitted its interest was not
related to the illness or injury, including benefits from ...      filed in any public record pre-petition but denied the
[t]he responsible person's insurer.” Under the policy,             trustee's interest in the settlement proceeds under 11
McGreevy could not “compromise, settle, surrender,                 U.S.C. § 544(a)(2) was superior to its subrogation
or release any claim or right of recovery ..., without             interest. It asked to be paid $2,667.46 from the
getting [Wellmark's] written permission.” The policy also           settlement proceeds. 3
provided McGreevy “must reimburse [Wellmark] to the              Based on their briefs, the parties, though perhaps
extent of benefit payments made under this certificate if        reluctantly so by Trustee Lovald, agreed the settlement
payment is received from the other [responsible] party or        proceeds, to the extent of the $14.46 Wellmark paid pre-
parties[,]” and “[t]he amount of [Wellmark's] subrogation        petition for a prescription, did not become property of
interest shall be paid first from any funds recovered on         the bankruptcy estate. The Court concurs. The tougher,
your behalf from any source, without regard to whether           remaining issue is whether the settlement funds necessary
you have been made whole or fully compensated for                to make Wellmark whole for the post-petition payments
your losses.” The prescription drug policy had a similar         it made related to the July 26, 2004 accident are also
subrogation provision.                                           excluded from property of the estate.

 *920 The record in the related main case, Bankr.No.             Wellmark argues it has a constructive trust on the
04–41113, also establishes Wellmark received notice of           settlement funds for its post-petition payments under
Trustee Lovald's proposed settlement through counsel.            S.D.C.L. § 55–1–11 and the funds in trust are excluded
Wellmark did not object to the proposed settlement;              from property of the estate under 11 U.S.C. § 541(d) as
others did. On July 26, 2007, Trustee Lovald's proposed          property in which Debtors held only legal title and not
settlement was approved as to the amount, but the Court          an equitable interest on the petition date. Trustee Lovald
directed the “[r]ights or interests in the settlement proceeds   challenges the Bankruptcy Court's ability to impose a
shall be determined by subsequent appropriate adversary          constructive trust for post-petition payments and the
proceedings.” The attendant order entered July 31, 2007          appropriateness of doing so at this time.
reserved ruling on the interests of the objecting parties and
the subrogation claimants.




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                                                               insuror may be entitled to subrogation either by contract
                                                               or in equity for the amount of the indemnity paid. Id.
                            II.

 [1]    [2] When a debtor files a petition in bankruptcy,       [7]    In this adversary proceeding, the burden of
all his legal and equitable interests are transferred to the   establishing a particular asset is property of the
bankruptcy estate. 11 U.S.C. § 541(a). While state law         bankruptcy estate rests with Trustee Lovald. See Evans v.
determines the nature and extent of a debtor's interest        Robbins, 897 F.2d 966, 968 (8th Cir.1990) (cites therein),
in property, Butner v. United States, 440 U.S. 48, 55,         and DeBold v. Case (In re Tri–River Trading, LLC), 329
99 S.Ct. 914, 59 L.Ed.2d 136 (1979), § 541 dictates to         B.R. 252, 263–64 (8th Cir. BAP 2005), aff'd, 452 F.3d 756
what extent the debtor's interest becomes property of          (8th Cir.2006). The burden shifts to Wellmark to show
the bankruptcy estate. Lindquist v. JNG Corp. (In re           the estate's interest in the settlement funds is limited by its
Lindell), 334 B.R. 249, 253 (Bankr.D.Minn.2005)(citing         subrogation interest. Tri–River Trading, 329 B.R. at 263.
N.S. Garrott and Sons v. Union Planters National Bank
(In re N.S. Garrott *921 and Sons), 772 F.2d 462,
466 (8th Cir.1985)). Section 541(a) defines property of                                     III.
the estate broadly, and encompasses conditional, future,
speculative, and equitable interests of the debtor. U.S. ex    [8]    The Court concludes the bankruptcy estate's
rel. Gebert v. Transport Administrative Services, 260 F.3d    interest in the settlement funds is limited by Wellmark's
909, 913 (8th Cir.2001)(cites therein).                       subrogation interest. Based on the provisions in the
                                                              Wellmark policies, it is clear Debtors' interest in the
 [3]   [4] Property of the bankruptcy estate includes all settlement funds was limited by Wellmark's right to be
causes of action the debtor could have brought at the time    reimbursed from any recovery by the alleged tort-feasor.
of the petition, which the case trustee, under 11 U.S.C.      Thus, the estate's interest in the settlement funds is equally
§ 704, then has standing to assert. Moratzka v. Morris        limited. See Farmers Ins. Group v. Krommenhoek (In
(In re Senior Cottages of America, L.L.C.), 482 F.3d 997,     re Hiatt), 2000 WL 33712218 (Bankr.D.Idaho June 30,
1001 (8th Cir.2007) (citing Mixon v. Anderson (In re Ozark    2000); Sheils v. City of Wilkes–Barre (In re Cole), 344 B.R.
Rest. Equip. Co.), 816 F.2d 1222, 1225 (8th Cir.1987));       44 (Bankr.M.D.Pa.2005); and In re Squyres, 172 B.R. 592
11 U.S.C. § 323 (trustee, as representative of the estate,    (Bankr.C.D.Ill.1994).
has capacity to sue and be sued). The trustee stands in
the debtor's shoes and may not assert interests or rights     The Court further concludes the petition date did not
greater than what the debtor himself possessed on the         alter the extent of Wellmark's subrogation interest. That
petition date. United States v. Whiting Pools, Inc., 462 U.S. is, even if Wellmark had not paid any accrued medical
198, 204–05 and nn. 8, 9, 103 S.Ct. 2309, 76 L.Ed.2d 515      claims by the petition date, its interest in the prospective
(1983); Drewes v. Vote (In re Vote), 276 F.3d 1024, 1026      settlement funds must still be recognized to the extent
(8th Cir.2002); and Constellation Dev. Corp. v. Dowden (In    of all medical claims it has paid or may pay arising
re B.J. McAdams, Inc.), 66 F.3d 931, 935 (8th Cir.1995).      from the July 26, 2004 accident. To hold otherwise
                                                              would allow a bankruptcy debtor's chosen petition date
 [5] [6] As this Court noted in In re David L. and Sharon to alter *922 the impact of the subrogation interest.
R. Klundt, Bankr.No. 05–42197, slip op. at 12, 2008 WL        Since McGreevy could not manipulate, to his benefit,
591072 (Bankr.D.S.D. March 3, 2008), § 541(d) essentially     Wellmark's subrogation interest outside bankruptcy, the
provides whenever an interest in property is limited in       Court cannot countenance a different result when Trustee
a debtor's hands, it is equally limited in the hands of       Lovald stepped into Debtor Stephen McGreevy's shoes on
the bankruptcy estate. Ramette v. Digital River, Inc. (In     the petition date. French v. Frey (In re Bergman), 467 F.3d
re Graphics Technology, Inc.), 306 B.R. 630, 634 (8th         536, 538 (6th Cir.2006) (subrogation rights conferred by
Cir. BAP 2004). One such limiting interest recognized in      contract are not affected by the Bankruptcy Code or the
South Dakota is a subrogation interest held by an insuror.    bankruptcy proceedings of the insured).
Schuldt v. State Farm Mutual Automobile Ins. Co., 89 S.D.
687, 238 N.W.2d 270, 271 (1975). As discussed therein, an     The Court recognizes this conclusion means the
                                                              bankruptcy estate and any subrogated insuror are joint



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interest holders when a chapter 7 debtor's personal injury      (Bankr.W.D.Mo.1999)(discussion of the imposition of
claim needs to be litigated or mediated post-petition.          constructive trusts in this circuit).
See Bowen v. American Family Ins. Group, 504 N.W.2d
604, 605–06 (S.D.1993) (quoting therein Parker v. Hardy,        The Court notes the parties did not stipulate whether 11
73 S.D. 247, 41 N.W.2d 555, 556 (1950)) (subrogated             U.S.C. § 509(a) applies, and the parties did not identify any
interest may not be split from the insured's cause of           state *923 subrogation statutes that may apply. Since
action against a tort-feasor). The case trustee and insuror     they did not travel those legal roads, the Court did not
will have to work cooperatively and may have to share           either.
costs in bringing the personal injury action forward. 4
Bowen, 504 N.W.2d at 605–07 (subrogated interest holder         Were applicable state law or the insurance contract
must bear proportionate share of costs of recovery).            provisions different, some other result might follow.
Their task in determining each party's respective interest      See, e.g., Crocker v. Calderon (In re Calderon), 363
in the resulting settlement funds or judgment amount            B.R. 537, 541 (Bankr.M.D.Tenn.2003) (in Tennessee, the
will be further complicated because the debtor's total          right of subrogation does not arise until the insured
medical claims may not yet be known. To the extent              has been made whole, and this requirement cannot
treatment covered by the insurance policy is continuing,        be avoided by contract); In re White, 297 B.R. 626,
i.e., if the policy limits have not been reached, the parties   634 (Bankr.D.Kan.2003)(an insuror's statutory right of
will need to estimate the amount of reimbursable post-          subrogation accrues or vests only when there has been a
petition medical claims or ask the Court to do so through       recovery by the insured); Minnesota Trust Co. of Austin
an adversary proceeding to determine property of the            v. Yanke (In re Yanke), 230 B.R. 374, 378 (8th Cir.
estate. See Fed.R.Bankr.P. 7001(2)(interests in property        BAP 1999)(under Minnesota law, a surety's right of
determined through an adversary proceeding). All parties,       subrogation remains inchoate until payment is made, but
including the debtor, will need to be watchful to ensure        when payment is made, the surety becomes entitled to
any settlement does not prematurely relieve the insuror         pursue its cause of action in subrogation). The Court's
from paying valid future medical claims. See Hart v. State      decision, however, must acknowledge the absence of a
Farm Mutual Automobile Ins. Co., 248 N.W.2d 881, 883–           controlling statute specifically governing this subrogation
84 (S.D.1976).                                                  claim or a “made whole” provision in either the subject
                                                                insurance policies or definitive state law. 5 See Met Life
The result reached today fosters precisely what the             Auto and Home Ins. Co. v. Lester, 719 N.W.2d 385
equitable and contractual doctrines of subrogation are          (S.D.2006); Julson v. Federated Mutual Ins. Co., 562
designed to foster. There is no “double recovery”               N.W.2d 117 (S.D.1997).
by Debtors and the bankruptcy estate from both
the insurance proceeds and the settlement funds for             The Court presumes McGreevy has now incurred all
McGreevy's pre-petition injuries, and the party that            medical claims related to the July 26, 2004 accident.
should pay for the injuries—the tort-feasor or his or           To the extent those medical claims were covered by
her insuror—is the one who is paying the resulting              his Wellmark policies, that total sum is excluded from
medical claims. See In re Cupp, 383 B.R. 84, 89                 the bankruptcy estate's interest in the settlement funds.
(Bankr.E.D.Tenn.2008).                                          Wellmark should also proportionately bear the attorneys'
                                                                fees and costs associated with the settlement to the extent
The Court does not determine herein whether Wellmark            of prescriptions paid or to be paid, and if it agreed to do so
had on the petition date, or may be given post-petition,        in writing, to the extent of other medical claims paid. 6 If
a constructive trust on the settlement funds. Wellmark          the parties cannot agree on the final amount of Wellmark's
had a contractual subrogated interest in the settlement         share of the settlement within 15 days of the entry of
funds, and South Dakota common law would also                   this Decision, they shall request an evidentiary hearing by
give Wellmark an equitable subrogated interest in those         motion. Otherwise, Trustee Lovald shall submit an agreed
funds. Thus, the thorny issue of the interplay between          order and judgment appropriately dividing the settlement
constructive trusts and § 541 need not be addressed             funds between the bankruptcy estate and Wellmark.
in this adversary proceeding. See, e.g., First American
Title Ins. Co. v. Lett (In re Lett), 238 B.R. 167



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Footnotes
1      The payments made by Wellmark were less than the sums that had been billed. On the parties' joint exhibit, the amount
       paid by Wellmark is described as the “Amount Settled.” Trustee Lovald and Wellmark did not advise the Court through
       their stipulated facts whether the portion of the “Bill Charged” that Wellmark did not pay remains an obligation owed by
       Debtors or the bankruptcy estate. One of Wellmark's post-petition payments was to Defendant Avera McKennan Hospital
       on October 13, 2006. The hospital had billed $2,099.00, but was paid only $455.20 as the “Amount Settled.”
2      In the main case, Bankr.No. 04–41113, Trustee Lovald's motion to approve the settlement (doc. 26), as well as the
       attendant fee application by the personal injury litigation attorney (doc. 27), stated the gross settlement amount was
       $38,534.95. When the order was entered (doc. 52), the amount was stated at $38,594.35. The Court will use $38,534.95
       for purposes of this adversary proceeding. If the order is incorrect and if a party deems it worthwhile, that party may file
       a motion to correct the figure in the settlement order in Bankr.No. 04–41113.
3      In its answer, Wellmark said its subrogation claim was $2,667.46, $5.00 higher than the $2,662.46 Trustee Lovald had in
       his complaint. The parties stipulated Wellmark has paid $2,682.46 to medical care providers and for prescription drugs.
4      McGreevy's “Blue Select” policy with Wellmark provided Wellmark would “not be liable for payment of any share of
       attorneys' fees or other expenses incurred in obtaining recovery, except as expressly agreed in writing.” The Court does
       not know if any such writing exists and so cannot ascertain Wellmark's liability for any of the legal fees and other costs
       incurred by the estate in reaching the settlement. See infra note 6.
5      The “health care” policy with Wellmark contained a specific provision saying the policy holder did not have to be made
       whole before Wellmark's subrogation interest had to be recognized. The prescription drug policy impliedly contained a
       similar requirement since Wellmark's subrogation interest was based on benefits paid, not benefits paid after the insured
       was made whole.
6      Only the “Blue Select” policy provides Wellmark is not liable for any share of attorneys' fees or other expenses incurred
       in obtaining a recovery unless it so agreed in writing. The prescription drug policy does not appear to include a similar
       limitation. See supra note 4. See Bowen v. American Family Ins. Group, 504 N.W.2d 604, 607 (S.D.1993)(insuror may
       contract away its responsibility to share in proportionate share of attorneys' fees incurred by insured in reaching a
       settlement).


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